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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

CHARLOTTE CHARLES and TIM DUNN,                      Case No.:
Individually and as Co-Administrators of the
ESTATE OF HARRY DUNN, and NIALL
DUNN, Individually,                                  COMPLAINT
               Plaintiffs,                           JURY TRIAL DEMANDED
       v.

ANNE SACOOLAS and JONATHAN
SACOOLAS,
               Defendants.


       Plaintiffs, Charlotte Charles and Tim Dunn, individually and as Co-Administrators of the

Estate of Harry Dunn, and Niall Dunn, individually, file this Complaint against Defendants Anne

Sacoolas and Jonathan Sacoolas, jointly and severally, for the wrongful death of Harry Dunn, and

allege as follows:


                                         INTRODUCTION

       1.      This case arises out of a tragic and fatal accident that occurred on or about August

27, 2019, along B4031 near Croughton, Northamptonshire, England. Defendant Anne Sacoolas

was driving an automobile, owned in whole or in part by Defendant Jonathan Sacoolas, on the

wrong side of the road when she hit 19-year-old Harry Dunn on his motorcycle, causing him

catastrophic injuries that ultimately led to his death.

       2.      Defendant Anne Sacoolas did not call an ambulance for Harry. Instead, she left

Harry to suffer as he lay face down on the side of the road, afraid of dying, fully conscious with

multiple broken bones, including open fractures on both legs and both arms, and internal injuries.

Tragically, Harry died as a result of the catastrophic injuries he suffered in the accident.
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       3.      Defendant Anne Sacoolas promised to cooperate with the British police in the

investigation of the accident. But rather than stay in the United Kingdom, where she and her

husband were living and working, Defendant Anne Sacoolas fled to the United States.

       4.      The British Crown Prosecution Service charged Defendant Anne Sacoolas with

causing Harry’s death by dangerous driving. But Defendant Anne Sacoolas has refused to return

to the United Kingdom to face Britain’s justice system. Harry’s parents have, therefore, brought

this suit on their own behalf and on behalf of the Estate of Harry Dunn in Virginia, where

Defendant Anne Sacoolas resides.

                                           PARTIES

       5.      Harry’s mother, Plaintiff Charlotte Charles was appointed as Co-Administrator of

Harry Dunn’s Estate on July 29, 2020. See Exhibit A. Plaintiff Charles is a citizen of the United

Kingdom and resides in Charlton, Oxfordshire, United Kingdom.

       6.      Harry’s father, Plaintiff Tim Dunn, was appointed as Co-Administrator of Harry

Dunn’s Estate on July 29, 2020. See Exhibit A. Plaintiff Dunn is a citizen of the United Kingdom

and resides in Brackley, Northamptonshire, United Kingdom.

       7.      At the time of his death, Harry was a citizen of the United Kingdom and resided in

Banbury, Northhamptonshire, United Kingdom.

       8.      Niall Dunn is Harry’s twin brother. He is a citizen of the United Kingdom and

resides in Charlton, Oxfordshire, United Kingdom.

       9.      Defendant Anne Sacoolas is a United States citizen and a citizen of Virginia, where

she resides in the city of Herndon.

       10.     Defendant Jonathan Sacoolas is a United States citizen and a citizen of Virginia,

where he resides in the city of Herndon.




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                                    JURISDICTION AND VENUE

         11.     The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1332(a)(2) as this

action involves citizens of the State of Virginia and citizens of the United Kingdom, a foreign

state.

         12.     Venue is proper in this District under 28 U.S.C. § 1391(b) because Defendants

reside in this judicial district.

                                    FACTUAL ALLEGATIONS

         13.     Prior to the accident, Defendant Anne Sacoolas had been living in the United

Kingdom for several weeks and had been driving a large Volvo XC90 SUV, owned in whole or in

part by Defendant Jonathan Sacoolas, for errands, transporting her children, and buying goods for

her new home. The steering wheel of the SUV was located on the right side of the vehicle.

         14.     On the evening of the accident, on or about August 27, 2019, Defendant Anne

Sacoolas was driving the SUV from the RAF Croughton United States Air Force base to her home,

going westbound along B4031 Park End.

         15.     At that time, Harry, who was only 19 years old, was lawfully and safely riding his

motorcycle eastbound on B4031 near Croughton, Northamptonshire, England.

         16.     Harry was properly licensed, well rested, and very familiar with his motorcycle,

with riding motorcycles in general, and with the B4031 roadway. He was wearing a full-face

helmet for protection and was riding his motorcycle properly and within the law. He had his lights

on, was not under the influence of any alcohol or drugs, was traveling within the speed limit, and

was not talking or texting on his phone.




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       17.     Despite having lived and driven in the United Kingdom for several weeks and

driving a British model SUV with the steering wheel on the right side, Defendant Anne Sacoolas

drove on the wrong side of the road.

       18.     While she was driving on the wrong side of the road, Defendant Anne Sacoolas hit

Harry head on. He was catapulted off his motorcycle and into the front of her SUV, leaving blood

and clothing embedded in the front windshield, and landed to the side of the SUV.

       19.     As a result of the impact with Defendant Anne Sacoolas’ vehicle, Harry had

multiple open fractures, painful degloving injuries, and internal injuries. Both his upper and lower

arm was broken on the left side, and he had an open and degloved fracture of his right arm. Both

of Harry’s legs suffered open fractures. His left leg sustained open fractures in both the upper and

lower leg. And he also suffered extensive pelvic and abdominal injuries.

       20.     Thanks to his helmet, Harry suffered only a mild head injury. He was conscious

during and after the impact. He lay awake, alone, and in pain, knowing that he was badly hurt and

dying, facedown by the side of the road.

       21.     Defendant Anne Sacoolas had a cellphone with her.

       22.     Defendant Anne Sacoolas did not call the police to report the accident.

       23.     After seeing Harry conscious, severely injured, and in pain, Defendant Anne

Sacoolas did not call for an ambulance for Harry.

       24.     Defendant Anne Sacoolas’ conduct in failing to report the accident or seek medical

assistance for Harry was willful or wanton, or so recklessness as to evince a conscious disregard

for the safety of Harry.

       25.     A few minutes after the accident, a passerby stopped at the scene. This passerby,

not Defendant Anne Sacoolas, called for an ambulance.




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          26.   When paramedics arrived, Harry was conscious, breathing, and able to speak with

them.

          27.   Harry was able to tell the arriving emergency personnel that Defendant Anne

Sacoolas had been driving on the wrong side of the road and that she hit him with her SUV.

          28.   Harry’s father, Plaintiff Tim Dunn, was able to arrive at the scene and reach Harry

before he was put into the ambulance.

          29.   Plaintiff Tim Dunn saw the Defendants’ SUV still sitting on the wrong side of the

road.

          30.   Plaintiff Tim Dunn watched as doctors and paramedics worked on Harry at the

accident scene. He vividly recalls seeing “bones sticking out everywhere” from his son’s body.

Plaintiff Dunn saw that Harry was awake. Harry told his father that he could not breathe. Plaintiff

Dunn observed that Harry seemed very anxious and scared. Plaintiff Tim Dunn tried to reassure his

son, although he could see that every breath and attempt Harry took to stay alive caused him

excruciating pain.

          31.   An emergency doctor confirmed to Plaintiff Tim Dunn that Harry was struggling

to breathe. The medical staff loaded Harry into the ambulance, and that was the last time Plaintiff

Tim Dunn saw Harry alive.

          32.   Harry was conscious, in excruciating pain, and not sedated for well over an hour.

          33.   Harry fought for his life on the side of the road and in the ambulance.

          34.   Harry died at the hospital after the extraordinary measures taken to save his life

failed.




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       35.     By reason of the sudden and unexpected shock of seeing the aftermath of the

collision and watching his son Harry struggle for his life in extreme pain and discomfort, Plaintiff

Tim Dunn has suffered lasting, severe emotional distress and injury.

       36.     Since the collision, Plaintiff Tim Dunn has reflected often on what he witnessed

and has suffered from deep sadness, sleeplessness, headaches, a lack of energy, and irritability. He

missed work as a result.

       37.     After the accident, Defendant Anne Sacoolas admitted the accident was her fault,

as she was driving on the wrong side of the road.

       38.     After Defendant Anne Sacoolas promised the British police that she would

cooperate in their investigation, she was permitted to return to her home in Croughton. Despite

her promise, on or about September 15, 2019 Defendant Anne Sacoolas departed the United

Kingdom, without notifying the local police and refused to return. Defendant Anne Sacoolas’

departure and subsequent refusal to return caused public outrage in both the United Kingdom and

the United States.

       39.     After additional investigation, the British Crown Prosecution Service charged

Defendant Anne Sacoolas with causing Harry’s death by dangerous driving.

       40.     The United Kingdom made an extradition request to the United States, which was

denied. The State Department described the denial as final.

       41.     Defendant Anne Sacoolas is not immune from suit in the United States.

       42.     The conduct of Defendant Anne Sacoolas directly and proximately caused the

accident and Harry’s subsequent injuries and death.

       43.     Defendant Anne Sacoolas’ conduct had, and continues to have, substantial

consequences. Her negligent driving, coupled with her failure to call an ambulance, caused




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Harry’s pain and suffering and eventual death. Harry’s father, Plaintiff Tim Dunn, witnessed his

son’s suffering and saw the extent of his injuries at the crash site. And Harry’s parents, Plaintiff

Charles and Plaintiff Tim Dunn, have not only suffered the loss of their son, but have also endured

additional pain and suffering as a result of Defendant Anne Sacoolas’ actions in leaving the United

Kingdom and willfully refusing to be held to account under Britain’s justice system. These

subsequent actions are an aggravating and continuing feature of Defendant Anne Sacoolas’ initial

wrongdoing and have served to prolong and continue to prolong and render more significant the

injuries suffered by all Plaintiffs.

        44.     Defendant Jonathan Sacoolas has vicarious liability for the conduct, actions, errors,

or omissions committed by Defendant Anne Sacoolas while operating the subject vehicle owned

in whole or in part by Jonathan Sacoolas.

        45.     As a direct and proximate result of Defendant Anne Sacoolas’ negligent operation

of her vehicle and failure to report the accident or seek medical assistance for Harry, Harry lost his

life, and the Plaintiffs have suffered injuries and mental anguish, and have incurred medical and

related expenses, as well as lost wages.

        46.     As a direct and proximate result of Defendant Anne Sacoolas absconding to the

United States, Plaintiffs have suffered additional injuries and mental anguish, and have incurred

medical and related expenses, as well as lost wages.

        47.     All conditions precedent to the filing of this action have been met or waived.


                                   FIRST CLAIM FOR RELIEF

                                  Negligence on behalf of the Estate
                                  Against Defendant Anne Saclooas

        48.     Plaintiffs re-allege paragraphs 1 to 47, above.




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        49.     Defendant Anne Sacoolas had a duty to drive on the correct side of the road, to

obey all roadway laws, to keep her vehicle under proper control, to pay full attention, to take due

care to not collide with other vehicles, and to operate her vehicle in a safe and prudent manner.

        50.     In addition, Defendant Anne Sacoolas had a duty to refrain from driving if she could

not drive safely.

        51.     Having caused the accident, Defendant Anne Sacoolas also had a duty to report the

accident and to seek medical assistance for Harry.

        52.     Notwithstanding such duties, Defendant did not drive on the correct side of the

road, failed to obey all roadway laws, failed to keep her vehicle under proper control, failed to pay

full time and attention, failed to take due care to not collide with other vehicles, failed to operate

her vehicle in a safe and prudent manner, and failed to report the accident or seek medical

assistance for Harry.

        53.     As a direct and proximate cause of the Defendant Anne Sacoolas’ failures to

exercise duties of ordinary care, Harry Dunn suffered grievous bodily injury, experienced mental

pain and anguish, became aware that he would not likely survive his injuries, and incurred medical

bills and other related expenses.

        54.     As a direct and proximate cause of the Defendant Anne Sacoolas’ conduct, the

Estate of Harry Dunn incurred funeral costs and related expenses.

        WHEREFORE, Plaintiffs Charlotte Charles and Tim Dunn, as the Co-Administrators of

the Estate of Harry Dunn, demand judgment for compensatory damages, punitive damages, and

costs, including prejudgment and post-judgment interest, against Defendant Anne Sacoolas, and

request trial by jury on all issues so triable.




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                                 SECOND CLAIM FOR RELIEF

                                 Negligence on behalf of the Estate
                                Against Defendant Jonathan Sacoolas

        55.     Plaintiffs re-allege paragraphs 1 to 47, above.

        56.     Pursuant to the doctrine of vicarious liability, because Jonathan Sacoolas was the

owner, in whole or in part, of the subject vehicle, he is vicariously liable, jointly and severally, for

all the damages caused by Defendant Anne Sacoolas’ operation of said vehicle.

        57.     Defendant Anne Sacoolas was driving her and Jonathan Sacoolas’ children home

from dinner with Jonathan Sacoolas at the time of the collision.

        58.     As a direct and proximate cause of the Defendant Anne Sacoolas’ failures to

exercise duties of ordinary care, for which Jonathan Sacoolas is vicariously liable, Harry Dunn

suffered grievous bodily injury, experienced mental pain and anguish, became aware that he would

not likely survive his injuries, and incurred medical bills and other related expenses.

        59.     As a direct and proximate cause of the Defendant Anne Sacoolas’ conduct, the

Estate of Harry Dunn incurred funeral costs and related expenses.

        WHEREFORE, Plaintiffs Charlotte Charles and Tim Dunn, as the Co-Administrators of

the Estate of Harry Dunn, demand judgment for compensatory damages, punitive damages, and

costs, including prejudgment and post-judgment interest, against Defendant Jonathan Sacoolas,

and request trial by jury on all issues so triable.

                                  THIRD CLAIM FOR RELIEF

                               Breach of Duty on behalf of the Estate
                                 Against Defendant Anne Sacoolas

        60.     Paragraphs 1 to 47 re-alleged here.

        61.     Defendant Anne Sacoolas had a duty to seek assistance for Harry Dunn after

negligently injuring him.


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        62.     Notwithstanding such duty, Defendant Anne Sacoolas failed to call for an

ambulance, despite having the means to do so, or otherwise come to Harry’s aid.

        63.     As a direct and proximate cause of Defendant Sacoolas’ breach of duty, Harry

Dunn experienced prolonged suffering and his chance of survival was diminished.

        WHEREFORE, Plaintiffs Charlotte Charles and Tim Dunn, as the Co-Administrators of

the Estate of Harry Dunn, demand judgment for compensatory damages, punitive damages, and

costs, including prejudgment and post-judgment interest, against Defendant Anne Sacoolas, and

request trial by jury on all issues so triable.

                                 FOURTH CLAIM FOR RELIEF

                            Negligent Entrustment on behalf of the Estate
                                    Against Jonathan Sacoolas

        64.     Plaintiffs re-allege paragraphs 1 to 47 above.

        65.     At all materials times, Defendant Jonathan Sacoolas knew or should have known

that Defendant Anne Sacoolas was not reasonably fit to safely operate or otherwise be in

possession of the motor vehicle at the time of the accident.

        66.     At all material times, however, Defendant Jonathan Sacoolas permitted Defendant

Anne Sacoolas to operate the subject motor vehicle at the time of the accident.

        67.     At all material times, it was foreseeable that Defendant Anne Sacoolas could pose

a risk of harm to individuals like Harry Dunn and others similarly situated, and was likely to use

the vehicle in a manner that would cause harm to individuals like Harry Dunn and others similarly

situated.

        68.     As a direct and proximate cause of the Defendant Jonathan Sacoolas’ failures to

exercise duties of ordinary care, Harry Dunn suffered grievous bodily injury, experienced mental




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pain and anguish, became aware that he would not likely survive his injuries, and incurred medical

bills and other related expenses.

        69.     As a direct and proximate cause of the Defendant Jonathan Sacoolas’ conduct, the

Estate of Harry Dunn incurred funeral costs and related expenses.

        70.     The Estate of Harry Dunn has lost the income of decedent and has incurred medical

and funeral expenses due to the decedent’s injury and death.

        WHEREFORE, Plaintiffs Charlotte Charles and Tim Dunn, as the Co-Administrators of

the Estate of Harry Dunn, demand judgment for compensatory damages, punitive damages, and

costs, including prejudgment and post-judgment interest, against Defendant Jonathan Sacoolas,

and request trial by jury on all issues so triable.

                                    FIFTH CLAIM FOR RELIEF

      Wrongful Death on behalf of the Estate, Charlotte Charles, Tim Dunn and Niall Dunn
                             Against Defendant Anne Sacoolas

        71.     Plaintiffs re-allege paragraphs 1 to 47, above.

        72.     As a direct and proximate cause of Defendant’s failures to exercise duties of

ordinary care, Harry Dunn suffered grievous bodily injury resulting in his death.

        73.     As a direct and proximate result of Defendant Anne Sacoolas’ negligence, Harry

Dunn suffered fatal injuries and Defendant Anne Sacoolas is responsible for his death and damages

as set forth below:

                a. Charlotte Charles, the surviving parent of Harry Dunn, deceased, has suffered

                      and will continue to suffer mental and physical anguish, loss of society and

                      companionship, and all other damages and expenses allowed under Virginia

                      law;




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               b. Tim Dunn, the surviving parent of Harry Dunn, deceased, has suffered and will

                   continue to suffer mental and physical anguish, loss of society and

                   companionship, and all other damages and expenses allowed under Virginia

                   law; and

               c. Niall Dunn, the surviving sibling of Harry Dunn, deceased, has suffered and

                   will continue to suffer mental and physical anguish, loss of society and

                   companionship, and all other damages and expenses allowed under Virginia

                   law; and

               d. The Estate of Harry Dunn has lost the income of decedent and has incurred

                   medical and funeral expenses due to the decedent’s injury and death

       WHEREFORE, Plaintiffs Charlotte Charles and Tim Dunn, individually and as the Co-

Administrators of the Estate of Harry Dunn, and Niall Dunn individually, demand judgment for

compensatory damages, punitive damages, and costs, including prejudgment and post-judgment

interest, against Defendant Anne Sacoolas, and request trial by jury on all issues so triable.

                                 SIXTH CLAIM FOR RELIEF

  Wrongful Death on behalf of the Estate, Charlotte Charles, Tim Dunn and Niall Dunn against
                                Defendant Jonathan Sacoolas

       74.     Plaintiffs re-allege paragraphs 1 to 47, above

       75.     As a direct and proximate cause of Defendant Anne Sacoolas’ failures to exercise

duties of ordinary care, for which Jonathan Sacoolas is vicariously liable, Harry Dunn suffered

grievous bodily injury resulting in his death.

       76.     As a direct and proximate cause of Defendant Jonathan Scoolas’ failure to exercise

duties of reasonable care, Harry Dunn suffered grievous bodily injury and eventually died.




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       77.     As a direct and proximate cause of the negligence of Defendant Anne Sacoolas, for

which Jonathan Sacoolas is vicariously liable, and the negligence of Defendant Jonathan Sacoolas,

Harry’s mother, father, and twin brother have suffered deep sorrow, severe mental anguish, the

loss of society, loss of companionship, loss of home services, and loss of comfort, guidance, and

advice of the decedent.

       78.     As a direct and proximate result of the negligence of Defendant Anne Sacoolas, for

which Jonathan Sacoolas is vicariously liable, and the negligence of Defendant Jonathan Sacoolas,

the Estate of Harry Dunn has incurred medical expenses and funeral expenses.

       79.     As a direct and proximate result of Defendant Anne Sacoolas’ negligence, for

which Jonathan Sacoolas is vicariously liable, and the negligence of Defendant Jonathan Sacoolas,

Harry Dunn suffered fatal injuries and the Defendant is responsible for his death and damages as

set forth below:

                   a. Charlotte Charles, the surviving parent of Harry Dunn, deceased, has

                      suffered and will continue to suffer mental and physical anguish, loss of

                      society and companionship, and all other damages and expenses allowed

                      under Virginia law;

                   b. Tim Dunn, the surviving parent of Harry Dunn, deceased, has suffered and

                      will continue to suffer mental and physical anguish, loss of society and

                      companionship, and all other damages and expenses allowed under Virginia

                      law; and

                   c. Niall Dunn, the surviving sibling of Harry Dunn, deceased, has suffered and

                      will continue to suffer mental and physical anguish, loss of society and




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                       companionship, and all other damages and expenses allowed under Virginia

                       law; and

                   d. The Estate of Harry Dunn has lost the income of decedent and has incurred

                       medical and funeral expenses due to the decedent’s injury and death.

       WHEREFORE, Plaintiffs Charlotte Charles and Tim Dunn, individually and as the Co-

Administrators of the Estate of Harry Dunn, and Niall Dunn individually, demand judgment for

compensatory damages, punitive damages, and costs, including prejudgment and post-judgment

interest, against Defendant Jonathan Sacoolas, and request trial by jury on all issues so triable.

                               SEVENTH CLAIM FOR RELIEF

Wrongful Death (Fatal Accidents Act 1976 (UK)) on behalf of Charlotte Charles, Tim Dunn, and
                        Niall Dunn against Defendant Anne Sacoolas

       80.     Plaintiffs re-allege paragraphs 1 to 47, above.

       81.     Plaintiffs Charlotte Charles, Tim Dunn, and Niall Dunn are Harry Dunn’s

dependents under the Fatal Accidents Act 1976.

       82.     As a direct and proximate cause of Defendant Anne Sacoolas’ failures to exercise

duties of ordinary care, Harry Dunn suffered grievous bodily injury and eventually died.

       83.     As a direct and proximate cause of the negligence of the Defendant, Harry’s mother,

father, and brother have suffered injury including deep sorrow, severe mental anguish, the loss of

society, loss of companionship, loss of affection, loss of home services, loss of future economic

support, loss of comfort, guidance, and advice of the decedent, and other intangible benefits and

have incurred funeral costs and related expenses.

       WHEREFORE, Plaintiffs Charlotte Charles, Tim Dunn, and Niall Dunn, demand judgment

for compensatory damages, punitive damages, and costs, including prejudgment and post-




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judgment interest, against Defendant Anne Sacoolas, and request trial by jury on all issues so

triable.

                                 EIGHTH CLAIM FOR RELIEF

Wrongful Death (Fatal Accidents Act 1976 (UK)) on behalf of Charlotte Charles, Tim Dunn, and
                      Niall Dunn against Defendant Jonathan Sacoolas

           84.   Plaintiffs re-allege paragraphs 1 to 47, above.

           85.   Plaintiffs Charlotte Charles, Tim Dunn, and Niall Dunn are Harry Dunn’s

dependents under the Fatal Accidents Act 1976.

           86.   As a direct and proximate cause of Defendant Anne Sacoolas’ failures to exercise

duties of ordinary care, for which Defendant Jonathan Sacoolas is vicariously liable, Harry Dunn

suffered grievous bodily injury and eventually died.

           87.   As a direct and proximate cause of Defendant Jonathan Sacoolas’ failure to exercise

duties of reasonable care, Harry Dunn suffered grievous bodily injury and eventually died.

           88.   As a direct and proximate cause of the negligence of Defendant Anne Sacoolas’

negligence, for which Jonathan Sacoolas is vicariously liable, and the negligence of Defendant

Jonathan Sacoolas, Harry’s mother, father, and brother have suffered injury including deep sorrow,

severe mental anguish, the loss of society, loss of companionship, loss of affection, loss of home

services, loss of future economic support, loss of comfort, guidance, and advice of the decedent,

and other intangible benefits and have incurred funeral costs and related expenses.

           WHEREFORE, Plaintiffs Charlotte Charles, Tim Dunn, and Niall Dunn, demand judgment

for compensatory damages, punitive damages, and costs, including prejudgment and post-

judgment interest, against Defendant Jonathan Sacoolas, and request trial by jury on all issues so

triable.

                                  NINTH CLAIM FOR RELIEF



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       Intentional Infliction of Emotional Distress on behalf of Charlotte Charles, Tim Dunn and
                              Niall Dunn Against Defendant Anne Sacoolas

       89.     Plaintiffs re-allege paragraphs 1 to 47 above.

       90.     Defendant Anne Sacoolas’ willful, wanton, or reckless conduct and conscious

disregard for Harry and the Plaintiffs had, and continues to have, substantial consequences. Her

negligent driving, coupled with her decision not to report the accident or call an ambulance not

only caused Harry’s death, but also prolonged his conscious pain and suffering, and diminished

his chances of survival. Her decision to leave Great Britain and avoid the justice system, after

assuring the local police that she would cooperate in their investigation, caused Plaintiffs

additional pain and suffering and led to extreme emotional distress for the Plaintiffs.

       91.     Defendant Anne Sacoolas’ actions in failing to report the accident, failing to request

medical assistance for Harry when he was catastrophically injured as a result of her actions, and

fleeing justice by absconding to the United States to avoid taking responsibility for having killed

19-year-old Harry Dunn go beyond all possible bounds of decency, and are atrocious and utterly

intolerable in a civilized community.

       92.     As a direct and proximate cause of the Defendant Anne Sacoolas’ conduct, Harry’s

mother, father, and brother have experienced extreme mental suffering, mental anguish, mental or

nervous shock, fright, horror, grief, shame, humiliation, embarrassment, anger, chagrin,

disappointment, worry, sleeplessness, anxiety, headaches, physical pain, and nausea. Further,

Plaintiffs have experienced physical manifestations of the extreme emotional distress they have

suffered as a result of Defendant’s conduct.

       WHEREFORE, Plaintiffs Charlotte Charles, Tim Dunn, and Niall Dunn, individually,

demand judgment for compensatory damages, punitive damages, and costs, including prejudgment




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and post-judgment interest, against Defendant Anne Sacoolas, and request trial by jury on all issues

so triable.

                                TENTH CLAIM FOR RELIEF

                           Negligence on behalf of Plaintiff Tim Dunn
                               Against Defendant Anne Sacoolas

        93.    Plaintiffs re-allege paragraphs 1 to 47, above.

        94.    As a direct and proximate cause of the negligence of Defendant Anne Sacoolas,

Plaintiff Tim Dunn witnessed the aftermath of the collision shortly after it occurred and saw his

son Harry dying while in visible pain.

        95.    By reason of the sudden and unexpected shock of seeing the aftermath of the

collision and watching his son Harry struggle for his life in extreme pain and discomfort,

Plaintiff Tim Dunn has suffered psychiatric injury, including deep sadness, sleeplessness,

headaches, a lack of energy, and irritability. There was a close tie of love and affection between

Plaintiff Tim Dunn and Harry and his psychiatric injury was a reasonably foreseeable

consequence of Defendant Jonathan Sacoolas’ negligence.

        WHEREFORE, Plaintiff Tim Dunn, individually, demands judgment for compensatory

damages, punitive damages, and costs, including prejudgment and post-judgment interest, against

Defendant Anne Sacoolas, and request trial by jury on all issues so triable.

                              ELEVENTH CLAIM FOR RELIEF

                           Negligence on behalf of Plaintiff Tim Dunn
                             Against Defendant Jonathan Sacoolas

        96.    Plaintiffs re-allege paragraphs 1 to 47, above.

        97.    As a direct and proximate cause of the negligence of Defendant Anne Sacoolas,

for which Defendant Jonathan Sacoolas is vicariously liable, Plaintiff Tim Dunn witnessed the




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aftermath of the collision shortly after it occurred and saw his son Harry dying while in visible

pain.

        98.    By reason of the sudden and unexpected shock of seeing the aftermath of the

collision and watching his son Harry struggle for his life in extreme pain and discomfort,

Plaintiff Tim Dunn has suffered psychiatric injury, including deep sadness, sleeplessness,

headaches, a lack of energy, and irritability. There was a close tie of love and affection between

Plaintiff Tim Dunn and Harry and his psychiatric injury was a reasonably foreseeable

consequence of Defendant Jonathan Sacoolas’ negligence.

        WHEREFORE, Plaintiff Tim Dunn, individually, demands judgment for compensatory

damages, punitive damages, and costs, including prejudgment and post-judgment interest, against

Defendant Jonathan Sacoolas, and request trial by jury on all issues so triable.

                                        JURY DEMAND

        Plaintiffs respectfully demand a trial by jury of all issues for which they have a right to

demand a trial by jury.

        Dated this 9th day of September, 2020.

                                             Respectfully submitted,


                                             By: /s/ Steven J. Toll
                                             Steven J. Toll, VSB #15300
                                             Agnieszka M. Fryszman*
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